Case 1:01-cr-10060-.]DT Document 21 Filed 05/18/05 Page 1 of Page|D 17

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IN THE UNITED sTATEs DISTRICT COURT /7'»4}'/ “~-~` 70
FOR THE wEsTERN DIsTRIcT oF TENNES$E§V pit '
EASTERN DIvIsIoN "`§prt~,/§ & §§

UNITED STATES OF AMERICA
vs. Cr. No.l:Ol-lOOEO-Ol-T

TAMMIE MICHELE MOORE

JUDGMENT ON SUPERVISED RELEASE VIOLATION

This cause came to be heard on May 17, 2005, Assistant
U. S. Attorney James W. Powell, representing the government, and
the defendant appeared in person and with counsel, M. Dianne
Smothers, Assistant Federal Defender, who was appointed and
admits to the allegations set forth in the Supervised Release
Violation Petition. After questioning the defendant, hearing
statements of counsel, the Court finds the defendant guilty as
charged in the Supervised Release Violation Petition.

IT IS THEREFORE ORDERED that the defendant has violated the
terms of her supervised release and that he be sentenced to the
custody of the Bureau of Prisons for a period of THREE (3)

MONTHS with no further supervision.

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Case 1:01-cr-10060-.]DT Document 21 Filed 05/18/05 Page 2 of 3 Page|D 18

The defendant is remanded to the custody of the United

States Marshal.

IT IS SO ORDERED.

law

JAME D. TODD

UNI D sTAT DIsTRICT JUDGE
DATE: //?%Q 2045

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UNITED sTATE l ISTRIC COURT - WESTERN D"'TRCT oFTENNESSEE

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This notice confirms a copy cf the document docketed as number 21 in
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M. Dianne Smothers

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Honorable J ames Todd
US DISTRICT COURT

